Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 1 of 8 PageID #: 1086



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )
                                                 )    No. S1-4:16CR00159 AGF
                                                 )
LOREN ALLEN COPP,                                )
a/k/a “Sensei,”                                  )
                                                 )
              Defendant.                         )

 GOVERNMENT=S MOTION IN LIMINE FOR PROTECTIVE ORDER REGARDING
        CHILD VICTIMS AND WITNESSES UNDER 18 U.S.C. ' 3509

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield and

Colleen C. Lang, Assistant United States Attorneys for said District, and files this Motion for

Protective Order Regarding Child Victims and Witnesses under 18 U.S.C. ' 3509 as follows:

       1.      This case is currently set for trial on April 11, 2018.   The trial will involve the

testimony of at least two minor witnesses and the identification of several other child victims as

defined by 18 U.S.C. ' 3509(a).

       2.      The Child Victim Rights Act, 18 U.S.C. ' 3509, provides the following with

regard to protection of the confidentiality of child witnesses and victims:

       (3) Protective orders.--(A) On motion by any person the court may issue an
       order protecting a child from public disclosure of the name of or any other
       information concerning the child in the course of the proceedings, if the court
       determines that there is a significant possibility that such disclosure would be
       detrimental to the child.
       (B) A protective order issued under subparagraph (A) may--
       (i) provide that the testimony of a child witness, and the testimony of any other

                                                  1
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 2 of 8 PageID #: 1087



        witness, when the attorney who calls the witness has reason to anticipate that the
        name of or any other information concerning a child may be divulged in the
        testimony, be taken in a closed courtroom; and
        (ii) provide for any other measures that may be necessary to protect the privacy of
        the child.
        (4) Disclosure of information.--This subsection does not prohibit disclosure of
        the name of or other information concerning a child to the defendant, the attorney
        for the defendant, a multidisciplinary child abuse team, a guardian ad litem, or an
        adult attendant, or to anyone to whom, in the opinion of the court, disclosure is
        necessary to the welfare and well-being of the child.
        (e) Closing the courtroom.--When a child testifies the court may order the
        exclusion from the courtroom of all persons, including members of the press, who
        do not have a direct interest in the case. Such an order may be made if the court
        determines on the record that requiring the child to testify in open court would
        cause substantial psychological harm to the child or would result in the child's
        inability to effectively communicate. Such an order shall be narrowly tailored to
        serve the Government's specific compelling interest.

18 U.S.C. ' 3509(d)(3) & (e).

3.      Based on the above, the government hereby moves for a protective order requiring that

the child victims and witnesses be referred to only by pseudonyms of "Jane Doe 1" et sequentia

in all pleadings and in court during any hearings and at the trial of this matter (number to be

determined and a listing to be filed under seal prior to trial).   The government also moves to

have the courtroom sealed during the testimony of all child witnesses in this case, with the

exception of the presence of the witness= counsel and victim advocate.      The government also

moves to have the courtroom partially closed during the presentation of the images of child

pornography in this case (insofar as the images should not be displayed upon public monitors in

the courtroom).    Lastly, the government moves to have the defendant remain at counsel table

when questioning the victims.




                                                   2
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 3 of 8 PageID #: 1088



                                       Memorandum of Law

       The measures the Government seeks pass constitutional muster.            In United States v.

Broussard, 767 F. Supp. 1545, 1546-48 (D. Or. 1991), the court upheld the redaction of

child-identifying information from documents made part of the public record in a criminal case.

The court specifically rejected defendant's argument that redaction of documents affected his

First or Sixth Amendments right to a public trial.     Id.

       Moreover, in United States v. Anderson, 139 F.3d 291, 301-02 (1st Cir. 1998), cert. den.

sub. nom. Coutermarsh v. United States, 525 U.S. 866 (1998), the First Circuit upheld a district

court's order prohibiting the disclosure of the last names of two juvenile witnesses at trial.      The

defendants were charged, in part, with transporting the juveniles from Massachusetts to New

Jersey for purposes of prostitution, in violation of 18 U.S.C. ' 2423(a).       Relying on 18 U.S.C. '

3509(d)(3), the district court "ordered that, in order to protect their identity, the last names of the

juvenile witnesses not be disclosed during the trial." Anderson, 139 F.3d at 302.

       In this case, the Government requests that the minors/victims involved be referred to at

trial by pseudonyms of “Jane Doe 1” et sequentia . 1         This restriction serves a compelling

interest in "safeguarding the psychological well-being of a minor." Globe Newspaper Co. v.

Superior Court for Norfolk County, 457 U.S. 596, 604-05 (1982); Broussard, 767 F. Supp. at




       1
        Frequently minors may safely be referred to by initials.     See, e.g., United States v.
Ledee, 2012 WL 1247222 (E.D.N.Y.,2012) (referring to a minor as "KO"). However, here it
has been pointed out to the government by the witnesses that because the victims are generally
members of a specific high school, individuals are easily identified by their initials and
subsequently subjected to taunting.



                                                   3
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 4 of 8 PageID #: 1089



1546.       The nature of the minors' testimony and their ages warrants protection of their

identities.   This is especially true in light of the potential for media coverage of this case.    If no

protective measures are taken, and the minors' identities are disclosed, they will likely be subject

to numerous inquiries and severe scrutiny from the press, their classmates, and members of the

community. Disclosure of the minors' identities will thus likely harm the minors' well-being.

        Regarding closure of the courtroom, the Supreme Court has recognized that, while "the

press and general public have a constitutional right of access to criminal trials," this right is not

absolute.     Globe Newspaper Co., 457 U.S. at 603, 606.      See also United States v. Charboneau

2011 WL 5040717 (N.D. 2011).           The circumstances in which the press and public may be

barred from a criminal trial are limited; the justification for denying them access "must be a

weighty one." 457 U.S. at 606.        In Globe Newspaper Co. the Court stated that, when the right

of access is inhibited to prevent the disclosure of sensitive information, "it must be shown that

the denial is necessitated by a compelling governmental interest, and is narrowly tailored to serve

that interest." Id. at 607.   While the Court acknowledged that, "safeguarding the physical and

psychological well-being of a minor" has been recognized as a compelling interest, the Court

found that this interest did not justify a mandatory closure of the courtroom.     Id. at 607-08.

Instead, the trial court must determine on a case-by-case basis whether closure is necessary to

protect the welfare of the juvenile. Id. at 608.

        In Globe Newspaper Co., the Supreme Court found that the state statute at issue, which

required mandatory closure of the courtroom to the press and public during the testimony of

minor victims in criminal sex offense trials, violated the First Amendment.       In a footnote to its

holding, however, the Court stated:


                                                   4
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 5 of 8 PageID #: 1090



        We emphasize that our holding is a narrow one: that a rule of mandatory closure
        respecting the testimony of minor sex victims is constitutionally infirm. In
        individual cases, and under appropriate circumstances, the First Amendment does
        not necessarily stand as a bar to the exclusion from the courtroom of the press and
        general public during the testimony of minor sex-offense victims. But a
        mandatory rule, requiring no particularized determinations in individual cases, is
        unconstitutional.

Globe Newspaper Co., 457 U.S. at 611 n.27.        Unlike the state statute, Title 18, United States

Code, Section 3509(e) does not require automatic closure whenever a minor victim testifies in a

sexual exploitation case.   Rather, it requires a determination that "requiring the child to testify

in open court would cause substantial psychological harm to the child or would result in the

child's inability to effectively communicate." 18 U.S.C. ' 3509(e).        The statute also dictates

that the trial court's order closing the courtroom "shall be narrowly tailored to serve the

Government's specific compelling interest." Id.        This case-by-case determination of whether

the courtroom should be closed is in accord with the Supreme Court's decisions in Globe

Newspaper Co.      See Globe Newspaper Co., 457 U.S. at 609 ("That interest [safeguarding the

physical and psychological well-being of a minor] could be served just as well by requiring the

trial court to determine on a case-by-case basis whether the State's legitimate concern for the

well-being of the minor victim necessitates closure.     Such an approach ensures that the

constitutional right of the press and public to gain access to criminal trials will not be restricted

except where necessary to protect the State's interest.") and its subsequent decision in      Waller v.

Georgia, 467 U.S. 37, 48 (1984). 2     Further, unlike the facts in Globe Newspaper Co., the names


        2
        Subsequent to Globe Newspaper Co. the Supreme Court again considered the issue of
courtroom closure in Waller v. Georgia, 467 U.S. 37, 48 (1984).        Waller requires that "the
party seeking to close the hearing [ ] advance an overriding interest that is likely to be
prejudiced, the closure [ ] be no broader than necessary to protect that interest, the trial court [ ]
consider reasonable alternatives to closing the proceeding, and [the trial court] make findings

                                                   5
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 6 of 8 PageID #: 1091



of the minor victims and witnesses have been kept confidential throughout this matter.     Finally,

defendant will not be prejudiced by the closure since he will be present in the courtroom to hear

the evidence against him, and will have the opportunity to confront the juvenile witnesses.

       The factors to be considered under Globe Newspaper are "the minor victim's age,

psychological maturity and understanding, the nature of the crime, the desires of the victim, and

the interests of parents and relatives." 457 U.S. at 608.   In this case, the minors are currently

15-19 years old (but were between the ages of 12-17 when the charged offenses occurred, and

between the ages of 7-17 when other sexual abuse by defendant Copp occurred) and all have

expressed their wishes to the United States that the courtroom be closed during their testimony.

The nature of the crimes charged herein involves the exploitation of the minor victims by means

of the production of sexually explicit images of them. The case has received a great deal of

media attention, and having to testify about these matters in open court may result in the minors

being subjected to harassment by fellow students upon returning to school, which has already

resulted from the prior publicity.   These factors weigh heavily in favor of closing the courtroom

during the witness's testimony and certainly during the testimony relating to the images of child

pornography relating which will require displaying the images to the jury.    Accordingly, to

protect the privacy of, and prevent embarrassment or detriment to, the juvenile witnesses, the



adequate to support the closure." Id. However, Waller concerned the closure of a suppression
hearing regarding wiretaps in a RICO and gambling case, not in a child victim case, id. at 41.
where the overriding public interest in the "psychological well-being of a child" was determined
to be a compelling interest. 457 U.S. at 609. In Waller, the Court approvingly cited its Globe
Newspaper Co. holding, but did not elaborate on the differences between the two factual
situations. The government contends that following the more specifically tailored holding in
Globe Newspaper Co. will also comport with the Waller guidelines.


                                                 6
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 7 of 8 PageID #: 1092



United States respectfully requests that the courtroom be closed during the testimony of the

minor witnesses and partially closed during the publishing of the images of child pornography.

The courtroom should be closed to the members of the press, as well as to all persons not having

a direct interest in this case. See 18 U.S.C. ' 3509(e).

       Regarding the partial closing of the courtroom when images of the minor victims are

displayed to the Court and the trial participants, the government simply asks that the images not

be displayed on the monitors visible to the courtroom spectators.   Here the potential for

embarrassment and psychological harm to the victims is obvious.     Indeed the distress caused by

knowing that their nude images have been subject to public dissemination, is a recognized

component of restitution claims for other child pornography victims, and should therefore be

avoided.   E.g.   United States v. Ontiveros, 2011 WL 2447721 *4 ( N.D.Ind.,2011); United

States v. Brunner, 2010 WL 148433 *2 (W.D.N.C.,2010).        Also, as the defendant recently

informed the parties that he would be proceeding pro se, the victims would be traumatized by

seeing the perpetrator in the courtroom and answering his questions face-to-face. See United

States v. Brown, 528 F.3d 1030 ( 8th Cir. 2008). Therefore, the Government also moves that the

defendant be required to remain at counsel table when questioning the victims.

       Finally, the government contends that due to the Court's obligation to make specific

findings related to psychological harm to the victims involved, the government requests that the

Court allow the Government to proffer evidence relating to this issue during the pretrial

conference on April 9, 2018.




                                                7
Case: 4:16-cr-00159-AGF Doc. #: 163 Filed: 04/04/18 Page: 8 of 8 PageID #: 1093



                                         CONCLUSION

       Based on the foregoing the government requests the Court grant the motion to the extent

that any child victims or witnesses be referred to by the pseudonym "Jane Doe 1" et sequentia in

all future pleadings and hearings in this matter, to seal the courtroom during the testimony of all

victim/witnesses in this case, with the exception of the presence of the witness= counselor or

victim advocate, to prohibit the presentation of the images of child pornography in this case upon

public monitors in the courtroom and to require the defendant to remain at counsel table when

questioning the victims.

                                              Respectfully submitted,
                                              JEFFREY B. JENSEN
                                              United States Attorney


                                              s/ Jennifer A. Winfield
                                              JENNIFER A. WINFIELD, 53350MO
                                              Assistant United States Attorney
                                              111 S. 10th Street, Rm. 20.333
                                              St. Louis, Missouri 63102
                                              (314) 539-2200



                                 CERTIFICATE OF SERVICE
       I hereby certify that on April 4, 2018, the attached was filed electronically with the Clerk
of the Court and served by way of this Court's Electronic Notification System upon all counsel of
record, and mailed to defendant Loren Copp at the St. Charles County Adult Detention Center,
301 N. Second Street, St. Charles, MO 63301.



                                              s/ Jennifer A. Winfield
                                              JENNIFER A. WINFIELD, 53350MO
                                              Assistant United States Attorney


                                                 8
